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MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT

SENTENCE BY A PERSON IN FEDERAL CUSTODY

United States District Court [District Morten District oF Faxed
Name "dS, you were convicted): Docket or Case No.:
vbin “Kae Zoydk GiSFCROOUS-O-¢|
Place of fx as Prisoner No.:
LMG Cre cscoe {| S53 587 DD
UNITED STATES OF AMERICA Movant (include name under which convicted)
% Oe bin. hae. Lo uch

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NORTHERN DIS STRIC i OF TEXAS
P| P| ED

MOTION

1. (a) Name and location of court which entered the judgment of conviction you ard

Porthern. istrict O f Texas bo.
CLERK US Lj.

b) Criminal docket number (if you know): By GUR]
(b) Cr ocket or case r (ify ) —

2. (a) Date of the judgment of conviction one you know): Ge vn 25, I/F
(b) Date of sentencing: Te Yi e. — 5. M/F LD.

3. Length of sentence: a @ S 2Him. LhA

4. Nature of crime (all yy ont bf S. f*, Sea tion §U1 Ca) C1)
ond Cb)OiJ 4 Cc) DbSSES hon a Contre Noe t

SUBS fenle, ce fh i iteat ger 7 isdr. bute.

5. (a) What was your plea? (Check one)
(1) Not guilty [| (2) Guilty A (3) Nolo contendere (no contest) i |

(6) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or
what did you plead guilty to and what did you plead not guilty to?

6. If you went to trial, what kind of trial did you have? (Check one) yA Jury [] Judge only [J
7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes [| No Pe]

8. Did you appeal from the judgment of conviction? Yes [| No M4

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9. If you did appeal, answer the followin (!
(a) Name of court: SER, Cirautt 0k cp A garb

(b) Docket or case number <2. you know): LD -LO3E ¥ {

() Result: ~ J) ¢swrisseol Aer od ahs Brief.
(d) Date of result (if you know): 44) J
(e) Citation to the case (if you know): fl / A

(f) Grounds raised: Arders Site -
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fA Accapstin, A pe Wands gilly Gen |

oul pai SHticd Cau f° Coyn fj if A No eversi ble LVI at

sen tents é
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Si Fo ferAirak TS60ve- Meitiiom fer Py ws Weatrc Va. fran (+¢
(g) Did you file a petition for certiorari in the United States Supreme Court? Yes [| No
If “Yes,” answer the following:
(1) Docket or case number (if you know): ts Je
(2) Result:

(3) Date of result (if you know):

(4) Citation to the case (if you know):
(5) Grounds raised:

10. Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
concerning this judgment of conviction in any court?
volt NoLN

11. If your answer to Question 10 was “Yes,” give the following information:

(a) (1) Name of court: Als

(2) Docket or case number (if you know):
(3) Date of filing (if you know):

(4) Nature of the proceeding:
(5) Grounds raised:

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(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes [ ] No NJ
(7) Result: A h

(8) Date of result (if you know):

(b) If you filed any second motion, petition, or application, give the same information:
(1) Name of court:

(2) Docket of case number (if you know):
(3) Date of filing (if you know):

(4) Nature of the proceeding:

(5) Grounds raised:

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes [ ] No x

(7) Result:
(8) Date of result (if you know):

(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,

or application?

(1) First petition: Yes L] NoK
(2) Second petition: Yes [| No M1

(d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:

12. For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
supporting each ground.
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GROUND one: Lb fen dA apt Apbrn ky weed duct bes tive_ os S foneo -
peck hing 2p Obed! fp foe Leng hg wei
(a) Stipportifg facts (Do fidt argue or cite tan Just state the specific facts that support your claim: Vg)

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(b) Direct Appeal of Ground One:
(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [] No [AK

(2) Ifyou did not raise this issue in your direct appeal, explain why:

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a uns - tele.
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(c) Post-ConViction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes [] No [od

(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition: Jf/ et, Ah
Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):

Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?
ves[_] N
(4) Did you appeal from the denial of your motion, petition, or application?

Yes[ | not]

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [ ] No]
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(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeai LY

Docket or case number (if you know):

Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this
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issue: T.. < : | . ) 5
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GROUND TWo: Tike Aen iak cf Mak lon _ Pain ctaceacll Wet Pn 9
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(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your€laim.):

See teckel Avg UNE

(b) Direct Appeal of Ground Two:

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [| No fs.

(2) If you did not raise "csp in ay direct appeal, explain why:

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Abhbney Luke & abe eB tA ‘ug 4 Arg uncat in Pods Br

(c) Post-Convittiof Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes IAL No [ ]

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(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition: An de rs Ay, ef

Name and location of the court where the motion or petition filed:

eH Circute Court g A dgaf@abo

Docket or case number (if you know):

Date of the court’s decision: THA = Adan
Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No [od]

(4) Did you appeal from the denial of your motion, petition, or application?

yes[_] Nol pd
(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal? j Pe
Yes [| No [| LF Wad ow. Apyroll yer d

(6) Ifyour answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):

Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

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Failed Je CPS | _tssve, 7

GROUND THREE: Deliydisk Sludd lo ef ig ke fe Of Gen. evidentiney
Neat’ “A im Ve ise of bho Tone Due. fo on reKialilits of CEZS

(a) Supporting facts (Do not argue/ér cite law. Just state the specific facts that support your dla). 2 AScrr mad Tin

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(b) Direct Appeal of Ground Three:
(1) Ifyou appealed from the judgment of conviction, did you raise this issue?
Yes [ ] No

(2) If you did not raise this issue in your direct appeal, explain why:

Zliwr Care QU Cutvit Six very 2 R030

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes No
(2) Ifyou answer to Question (c)(1) is “Yes,” state:
Type of motion or petition: BR / A

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):

Date of the court’s decision:

Result (attach a copy of the court’s opinion or order. if available):

(3) Did you receive a hearing on your motion, petition, or application?
Yes [ | No

(4) Did you appeal from the denial of your motion, petition, or application?
Yes LJ No

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
Yes L] No

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

ho

Docket or case number (if you know):

Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

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(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

GROUND FOUR: XU / A

t

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

(b) Direct Appeal of Ground Four:
(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes [| No

(2) If you did not raise this issue in your direct appeal, explain why:

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Mes [] Neer

(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know): A} Li

Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

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(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No,

(4) Did you appeal from the denial of your motion, petition, or application?

Yes|_| No fal

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [ | No A
(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):

Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

13. Is there any ground in this motion that you have not previously presented in some federal court? If so, which
ground or grounds have not been presented, and state your reasons for not presenting them:

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14. Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
you are challenging? Yes No

'

If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the

issues raised.

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15. Give the name and address, if known, of each attorney who represented you in the following stages of the

you are challenging:
Oy hau

(b) At the arraignment and plea:

{ if K Arise
N/A

(a) At the preliminary hearing:

(c) At the trial:

(d) At sentencing:

Unknend

(e) On appeal:
Brandon “Beck

(f) In any post-conviction Or /
Cro S Zo

(g) On appeal from any ruling against you in a post-conviction proceeding:

LULA

16. Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court
and at the same time? Yes [] No

17. Do you have any future sentence to serve after you complete the sentence for the judgment that you are
challenging? Yes [] No iad

(a) If so, give name and location of court that imposed the other sentence you will serve in the future:

(b) Give the date the other sentence was imposed:

(c) Give the length of the other sentence:

(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
sentence to be served in the future? Yes [ No [mI

18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

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* The Antiterrorism and Effective Death Penalty Act of 1996 (*“AEDPA”) as contained in 28 U.S.C. § 2255,
paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
from the latest of —
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in violation of
the Constitution or laws of the United States is removed, if the movant was prevented from making such a
motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review; or
(4) the date on which the facts supporting the claim or claims presented could have been discovered
through the exercise of due diligence.
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Therefore, movant asks that the Court grant the following relief:

Ce 4A evidentiary siigating WN issu) carol Sentence redectin,

or afy other relief to which movant may b¢ entitled.

~

Signature of Attorney (if any)

| declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Motion
under 28 U.S.C. § 2255 was placed in the prison mailing system on Srh4 af. ao)

ae Apaonth, daté, year)

ZR

>

Gf
5 AQACQXD _ (date)

Executed (signed) on veg

If the person signing is not movant, state relationship to movant and explain why movant is not signing this motion.

ee
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INEFFECTIVENESS OF COUNSEL CLAIM
OF
ROBIN RAE LOYD

In order to succeed on the claim of ineffective assistance of counsel, the defendant must successfully satisfy each part of the
two-prong test set forth in Strickland v. Washington, 466 U.S. 668 (1984). The defendant must show both that her counsel was
deficient and that the defendant was prejudiced because of the deficiencies. Hanson v. Sherrod, 797 F.3d 810, 826 (2015)
"Counsel's performance must be ‘completely unreasonable’ to be constitutionally ineffective, not 'merely wrong." (Id, quoting
Wilson v. Sirmons, 536 F.3d 1064, 2083 (10th Cir.2008).

In Rogers v. United States, 91 F.3d1388 (10th Cir. 1996), the Tenth Circuit discussed the requirements of an ineffective
assistance of counsel claim under Section 2255. The Rogers court stated: Repentance born of a failed trial or sentencing
strategy can often be turned against defense counsel. We recognize ihat such criticism is often converted into a challenge
asserting inadequate assistance. Thus, we look for genuine-rather than perceived-ineffectiveness of counsel. Under Strickland
we first examine whether ‘counsel made errors so serious that [he] was not functioning as the ‘counsel’ guaranteed the
defendant by the Sixth Amendment." [United States v. Kissick, 69 F.3d 1048, 1054 (10th Cir. 1995)] (quoting Strickland, 466
U.S. at 687, 104 S.Ct at 2064). "[A] defendant is entitled to the exeicise [of] the skill, judgment and ailigence of a reasonably
competent defense attorney." Id. (quotation and citation omitted.). "Jucicial scrutiny of counsel's performance must be highly
deferential." Strickland, 466 U.S. at 659, 104 S.Ct at 2065.

Even more recenily in the United States v. Herring

"A fair assessment of attorney perforrnance requires that every effort be made io eliminate the distorting effects of hindsight,
to reconstruct the circurnstances of counsel's challenged conduct, arid to evaluate the conduct from counsel's perspective at
the time." Id. We "musi indulge a strong presumption that counsel's conduct falis within the wide range of reasonable
professional assistance: that is the defendant must overcome the presumption, that under the circumstances, the challenged
action ‘might be considered sound trial strategy."" Id. (quoting Michel v. Louisiana, 350 U.S. 91, 101, 76 S.CT. 158, 164, 100 _L.
Ed. 83 (1955).

Under the prejudice aspect of Strickland we inquire whether "there is a reasonable progability that, but for counsel's
unprofessional error, the result of the proceeding would have been different.” Kissick, 69 F.3d at 1055 (quoting Strickland, 466
U.S. at 694, 104 S. Ct. at 2068). "A reasonable probability is a probability sufficient to undermine confidence in the outcome.”
Strickland, 466 U.S. at 694, 104 S. Ct. at 2068. "However, a court may not set aside a conviction or a sentence solely because
the outcome would have been different absent counsel's deficient performance." Kissick 69 F.3d at 1055. “Instead, in order to
establish the required prejudice, a defendant must aemonstrate thei counsel's performance rendered the proceeding
‘fundamentally unfair or unreliable (quoting Lockhart v. Fret well U.S 364, 368-370, 113 S. Ct. 838, 842-843, 122 L. Ed 2d 180

(1993). Id at 1391-1392.

A court need not determine whether irial counsel's perforrnance was deficient examining whether the defendant established
the requisite showing under the second prong requiring prejudice. Jones, 852 F.2d 1275, 1277 (10th Cir. 1988). "If it is easier to
dispose of an ineffectiveness claim on the ground of lack of sufficient prejudice. ... that course should be followed." United
States v. Taylor, 832 F.2d 1187, 1194-1195 (10th Cir. 1987). The Supreme Court recognizes "a strong presumption that
counsel's conduct falls within the wide range of reasonable professional assistance." Strickland, 466 U.S. at 689: See also
United States v. Rantz, 862 F.2nd 808, 810 (10th Cir. 1988). As the second element of the Strickland test, the Court must focus
on the question "whether counsel's deficient performance render[ed] the result of the trial unreliable ar the proceedings
fundamentally unfair." Lockhart v. Fretwell, 506 U.S. 364, 372 (1993).

Here the proceedings were fundameniéliy unfair to defendant due 1o ineffective assistance of counsel.
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“EMC Carswell
P.O, Box 27066
Fort Worth, TX 76127

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The enclosed letter was processed through special
mailing a for forwarding to you. The letter
has neither been opened nor inspectad. if the writer
raises a question of problem over which this facility
has jurisdiction, you may wish to return the material

for further information or clarification. (4)

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